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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ZLOOP, INC., et al., | Case No. 15-11660 (KJC)
Debtors. (Jointly Administered)

Related Docket No.: 627 & 657

 

ORDER REGARDING REQUEST OF RECYCLING EQUIPMENT, INC.
FOR PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM

Upon consideration of the Certification of Counsel Regarding the Debtors’ Objection to
Request of Recycling Equipment, Inc. for Payment of Administrative Expense Claim [Docket No.
627], filed by the Debtors in the above-captioned cases; and the Court having jurisdiction to
consider the relief requested therein pursuant to 28 U.S.C. § § 157 and 1334; and upon
consideration of the requested relief; and the relief requested therein being a core proceeding
pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §
§ 1408 and 1409; and it appearing that the relief requested will benefit the Debtors’ estates, their
creditors, and all other parties in interest; and after due deliberation and sufficient cause
appearing therefor, it is hereby ORDERED that:

1. The Request and the Objection are each hereby deemed withdrawn.

2. The Debtors are authorized to take all actions necessary or appropriate to
effectuate the relief granted pursuant to this Order.

3. The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Order.

 

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The Debtors in these Chapter 11 Cases and the last four digits of each Debtors’ federal tax identification

numbers are: ZLOOP, Inc. (2960); ZLOOP Nevada, LLC (7516); and ZLOOP Knitting Mill, LLC (7098). The
location of the Debtors’ headquarters and the service address for each of the Debtors is 816 13th Street NE, Hickory,
NC 28601.

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4. The Court retains jurisdiction to interpret, implement and enforce the provisions

of this Order.

ON rR:

Dated: Novewsce 8 , 2016

Wilmington, Delaware bd Hl ( /

Honorable Kevin J. Cay ~
UNITED STATES BANKRUPTCY JUDGE

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